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 5                                UNITED STATES DISTRICT COURT
 6                               EASTERN DISTRICT OF CALIFORNIA
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 8   GERALD CARLIN, JOHN RAHM, PAUL                        CASE NO. 1:09-CV-00430 AWI EPG
     ROZWADOWSKI and DIANA WOLFE,
 9                                                         ORDER ON NON‐PARTY AND AMICI
     individually and on behalf of themselves and
                                                           CURIAE LAND O’LAKES, INC. AND
10   all others similarly situated,                        DAIRY FARMERS OF AMERICA
                                                           INC.’S MOTION FOR LEAVE TO FILE
11                                  Plaintiffs,            A BRIEF IN OPPOSITION TO
                                                           PLAINTIFFS’ MOTION FOR LEAVE
12          v.                                             TO FILE FOURTH AMENDED
                                                           CONSOLIDATED CLASS ACTION
13                                                         COMPLAINT
     DAIRYAMERICA, INC., and
14   CALIFORNIA DAIRIES, INC.,                             (Doc. No. 385)
15                                  Defendants.

16

17          Non-parties Land O’Lakes, Inc. (“Land O’Lakes”) and Dairy Farmers of America, Inc.

18   (“DFA”) seek to file an amicus curia brief in opposition to Plaintiffs’ pending motion for leave to

19   file a fourth amended complaint. Plaintiffs seek to amend their complaint to add Land O’Lakes

20   and DFA as defendants. For the reasons that follow, Land O’Lakes and DFA’s motion will be

21   granted.

22          It has been recognized that district courts have the inherent authority to permit and

23   consider amicus curiae briefs, even though such briefs are not specifically provided for in the

24   Federal Rules of Civil Procedure. See In re Bayshore Ford Trucks Sales, Inc., 471 F.3d 1233,

25   1249 n.34 (11th Cir. 2006) (“Unlike the Supreme Court Rules and the Federal Rules of Appellate

26   Procedure, the Federal Rules of Civil Procedure do not specifically provide for the filing of

27   amicus curiae briefs at the district court level. Nevertheless, district courts possess the inherent

28   authority to appoint ‘friends of the court’ to assist in their proceedings.”); see also Rocky
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 1   Mountain Farmers Union v. Goldstene, 2010 WL 1949146, at *2 (E.D. Cal. May 11, 2010) (“This
 2   Court retains broad discretion to either permit or reject the appearance of amicus curiae. A court
 3   may grant leave to appear as an amicus if the information offered is timely and useful. An amicus
 4   brief should normally be allowed when a party is not represented competently or is not represented
 5   at all.”) (internal citations and quotations omitted). The Court previously allowed a similar motion
 6   from a non-party earlier in this litigation under similar circumstances. See ECF No. 176.
 7   Therefore, Land O’Lakes and DFA’s motion to file an amicus curia brief will be granted.
 8

 9                                                ORDER
10          Accordingly, IT IS HEREBY ORDERED that:
11      1. Land O’Lakes and DFA’s motion to file an amicus curia brief in opposition to Plaintiffs’
12          pending motion for leave to file a fourth amended consolidated complaint (Doc. No. 385)
13          is GRANTED.
14      2. Land O’Lakes and DFA’s opposition (attached as exhibit A to their motion, Doc. No. 385)
15          is deemed filed as of March 17, 2017.
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     IT IS SO ORDERED.
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18   Dated: March 22, 2017
                                                 SENIOR DISTRICT JUDGE
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